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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF ILLINOIS

GAGE MOORE,                                    )
                                               )
             Plaintiff,                        )
                                               )
v.                                             )        Case No. 3:21-cv-1583-JPG
                                               )
ADVANCED TECHNOLOGY                            )
SERVICES, INC.,                                )
                                               )
                Defendant.                     )

                      CONSENT MOTION TO SET BRIEFING SCHEDULE

         COMES NOW Plaintiff, Gage Moore, and without opposition from the Defendant

 Advanced Technology Services, Inc. (ATS), hereby requests the following briefing schedule for

 pending motions before the Court:

        1.      Plaintiff filed this matter on December 06, 2021. (Dkt. 1).

        2.      A waiver of service was offered and accepted. (Dkt. 3, 7).

        3.      On February 1, 2022, Defendant ATS filed a Motion to Transfer Venue to the Central

District of Illinois. (Dkt. 8).

        4.      ATS’ Motion to Transfer Venue requires not only an evaluation of the relevant § 1404

factors but also an evaluation of contract law including the validity of the forum selection clause.

        5.      Plaintiff desires additional time to respond to this motion.

        6.      ATS later filed a Partial Motion to Dismiss certain Counts in the Complaint on

February 4, 2022. (Dkt. 16-17).

        7.      Pursuant to L.R. 7.1, Plaintiff’s response to Defendant’s Partial Motion to Dismiss is

due on March 7, 2022.

        8.      Plaintiff believes that he can timely respond to this motion and requests that both the

Motion to Transfer Venue and the Partial Motion to Dismiss be due on the same day.
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       9.      Defendant has likewise requested that the same briefing schedule apply to any reply

briefs with respect to both motions.

       10.     Plaintiff respectfully requests the following briefing schedule:

                a. Plaintiff’s Responses to Defendant’s Motion to Transfer Venue (Dkt. 8) and

                    Defendant’s Partial Motion to Dismiss (Dkt. 16) due by March 7, 2022.

                b. Defendant’s Reply Briefs with respect to both Motions, if any, due by March 21,

                    2022.

       11.     This motion is not meant for the purposes of delay.

       12.     Instead, Plaintiff requests that all the motions be briefed simultaneously.

       13.     Additionally, there is no delay in the case as Plaintiff’s Response to the Partial Motion

to Dismiss is already due March 7, 2022.

       14.     There is no prejudice to either party as Defendant does not object to this Motion.

       15.     For the aforementioned reasons, Plaintiff respectfully requests that the Court enter an

order amending the briefing schedule as outlined above.


                                                      Respectfully submitted,

                                                      THE FURNISS LAW FIRM, LLC

                                                      /s/ Ryan M. Furniss
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                                                      Attorneys for Plaintiff




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                               CERTIFICATE OF SERVICE

      A copy of the foregoing was served on opposing counsel of record this the 11th day of
February 2022, via the Court’s CM/EFS system.

                                                    /s/ Ryan M. Furniss

                                                    Ryan M. Furniss




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